Case 3:20-cr-00086-TJC-JBT Document 827 Filed 07/29/22 Page 1 of 2 PageID 19150


                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA
 v.
 JORGE PEREZ
 RICARDO PEREZ
 AARON DURALL
 JAMES F. PORTER, JR.                                 CASE NO. 3:20-cr-86-TJC-JBT
 SEAN PORTER
 CHRISTIAN FLETCHER
 NEISHA ZAFFUTO
 AARON ALONZO

 Counsel for Government:             Counsel for Defendants:
 Andrew Tysen Duva                   Thomas M. Bell (Jorge Perez/Ricardo Perez)
 Gary A. Winters                     Brian T. Rafferty (Aaron Durall/Neisha Zaffuto)
 James Hayes                         AJ Tasker (James F. Porter, Jr.)
                                     Caleb D. Rowland (Sean Porter)
                                     Steven H. Sadow (Christian Fletcher)
                                     Vince Citro (Christian Fletcher)
                                     Darcy Galnor (Aaron Alonzo)


                     HONORABLE TIMOTHY J. CORRIGAN
                      UNITED STATES DISTRICT JUDGE

 Courtroom Deputy: Jodi L. Wiles                 Court Reporter: Shannon Bishop


                                CLERK’S MINUTES

 PROCEEDINGS OF TELEPHONIC STATUS CONFERENCE:

 Tom Bell was permitted to cover for Richard Landes, and Brian Rafferty was
 permitted to cover for Joshua Lowther.

 Discussion regarding potential trial dates.

 Defendants move to continue the trial.        The government has no objection to the
 continuance.
Case 3:20-cr-00086-TJC-JBT Document 827 Filed 07/29/22 Page 2 of 2 PageID 19151


 Defendants' ore tenus motion to continue the trial is GRANTED. For the reasons
 stated on the record during the hearing, the Court finds that the ends of justice served
 by granting such a continuance outweigh the best interest of the public and the
 Defendants in a speedy trial. As Defendants are joined for trial, all time from now
 until the end of the August 2023 trial term shall be excludable time.

 Order to enter.

 The United States is permitted to file a 35 page response to the pending motions.




 DATE: July 29, 2022                                 TIME: 10:03 a.m. – 10:54 a.m.



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